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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                           *              MDL NO. 1873
FORMALDEHYDE PRODUCT                          *
LIABILITY LITIGATION                          *
                                              *              SECTION “N-5”
THIS DOCUMENT RELATES TO:                     *
Case No. 10-2184                              *              JUDGE ENGELHARDT
                                              *
                                              *              MAG. JUDGE CHASEZ
*    *   *   *   *   *   *   *   *   *   *   * *     *   *   * * * * * * *             *   *   *

  MEMO IN SUPPORT OF DEFENDANT FOREST RIVER’S MOTION TO DISMISS
FOR FAILURE TO COMPLY WITH PRE-TRIAL ORDERS NO. 2 AND 32 RELATING
 TO PLAINTIFF FACT SHEETS AND THE MATCHING REQUIREMENTS OF PRE-
                    TRIAL ORDERS NO. 38, 49 AND 68

MAY IT PLEASE THE COURT:

         Forest River, Inc. moves this Honorable Court for an Order dismissing the claims of the

following plaintiffs, with prejudice, for failure to comply with Pre-Trial Orders Nos. 2 and 32

Relating to the Production of Plaintiff Fact Sheets and the Matching Requirements of Pre-Trial

Orders No. 38, 49 and 68.

        Elicia Allen on behalf of I.A.(Plaintiff in Clements, C.A. 10-2184)
        Harold Anderson, Jr. (Plaintiff in Clements, C.A. 10-2184)
        Linda Bradbury on behalf of L.A. (Plaintiff in Clements, C.A. 10-2184)
        Heidi Bailey on behalf of A.B. (Plaintiff in Clements, C.A. 10-2184)
        Heidi Bailey (Plaintiff in Clements, C.A. 10-2184)
        Laura Bardwell on behalf of B.B. (Plaintiff in Clements, C.A. 10-2184)
        Heather R. Bardwell (Plaintiff in Clements, C.A. 10-2184)
        Leonisa A. Davis on behalf of J.B. (Plaintiff in Clements, C.A. 10-2184)
        Jennifer Brooks on behalf of J.B. (Plaintiff in Clements, C.A. 10-2184)
        Jennifer Brooks (Plaintiff in Clements, C.A. 10-2184)
        Bernell L. Clements (Plaintiff in Clements, C.A. 10-2184)
        LaQuetta Cole (Plaintiff in Clements, C.A. 10-2184)
        Leonisa A. Davis (Plaintiff in Clements, C.A. 10-2184)
        Wade L. Davis, Jr. (Plaintiff in Clements, C.A. 10-2184)
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      Glenda Durbin (Plaintiff in Clements, C.A. 10-2184)
      Greg Dupuy (Plaintiff in Clements, C.A. 10-2184)
      Shirley Jean Goodwin (Plaintiff in Clements, C.A. 10-2184)
      Mayola Haynes (Plaintiff in Clements, C.A. 10-2184)
      Tamika Santiago on behalf of E.H. (Plaintiff in Clements, C.A. 10-2184)
      Kellie Murphy (Plaintiff in Clements, C.A. 10-2184)
      Bernard Santiago, III (Plaintiff in Clements, C.A. 10-2184)
      LaQuetta Cole on behalf of B.S. (Plaintiff in Clements, C.A. 10-2184)
      Tamika Santiago (Plaintiff in Clements, C.A. 10-2184)

         BACKGROUND - CREATION OF MDL AND FACT SHEET PROCESS


       The above captioned Multi-District Litigation was created in 2007 to allow for the

consolidated resolution and completion of discovery and other pre-trial matters. On January 30,

2008 the Court issued Pre-Trial Order (“PTO” or “Order”) No. 2, describing procedures for

various case management issues. This Pre-Trial Order introduced the “Plaintiff Fact Sheet”

(PFS), which would serve as the substitute for the initial rounds of Interrogatories and Requests

for Production of Documents in a more standardized and simplified format. Rec. Doc. No. 87.

The Order also established a process for “curing” these fact sheets when any particular plaintiff

failed to comply with its obligation to submit a properly completed PFS Sheet. In outlining the

curing process, the Order stated that when any plaintiff failed to materially comply with the

obligation to submit a completed PFS within the timelines established, counsel for the defendants

was to send the plaintiff’s counsel a letter explaining the material deficiency in the PFS. Id. at p.

8—9. The letter would specifically list each alleged material deficiency and state that the

defendants would seek dismissal if the plaintiff failed to cure the deficiencies in his or her PFS

within 30 days. Id.

       Subsequently, on March 18, 2009, the Court amended PTO No. 2 with PTO No. 32 as to

the due dates for these same PFSs. Rec. Doc. No. 1180. Because of the large number of cases


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being filed in the summer of 2009, PTO No. 32 provided new deadlines for the production of the

PFSs and it also retained the same curing procedure as was set forth in PTO No. 2.

       On May 27, 2009 the Court entered PTO No. 38 thereby placing on each plaintiff the

burden of identifying and naming the sole manufacturer responsible for erecting the FEMA unit

in which he or she was housed. Rec. Doc. No. 1596. For complaints that had already been filed

or transferred to this Court as of December 9, 2009, the deadline to complete this matching

expired twenty days thereafter, on December 29, 2009. See Pre-Trial Order No. 49 (Rec. Doc.

8908). For complaints not already filed or transferred to this Court by December 9, 2009, the

pre-trial order requires that plaintiffs “shall be matched with a specific manufacturing defendant

within 45 days of the date of the filing of the Complaint.” Id. (emphasis omitted). Pre-Trial

Order No. 45 further provides that the matching deadline is subject to extension “for good cause

shown.” Id. The above listed complaint was filed on July 30, 2010. Thus, plaintiffs’ deadlines

for matching to the correct, single manufacturing defendant expired 45 days later, on September

13, 2010. If the above listed plaintiffs were some of the plaintiffs who had trouble obtaining

matching information, and their attorneys fulfilled the strict requirements for participating in the

“last chance” matching process established by the Court, then their deadline for participating in

this process would have been August 2, 2010. See Amended Pre-Trial Order No. 68 Concerning

Deadlines for Matching and Filing (Rec. Doc. 14779). While Plaintiffs’ counsel have not given

any indication that the above listed plaintiffs participated in the “last chance” process, at the very

latest, the deadline for matching the plaintiffs with the correct manufacturing defendant expired

more than a year ago.




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          The Plaintiffs listed above have failed to comply with the deficiency and curing

procedures set out in PTO Nos. 2 and 32 and with the matching requirements of PTO Nos. 38, 49

and 68.

                                      LAW AND ARGUMENT


          Here, Forest River respectfully submits that the Plaintiffs listed above have failed to

comply with PTO Nos. 2, 32, 38, 49 and 68, and therefore, this Court should dismiss their

claims.

          Rule 41(b) of the Federal Rules of Civil Procedure provides the basis for dismissal for

failure to comply with a court order. The authority is based on the court’s power to manage and

administer its own affairs, and to ensure the orderly and expeditious disposition of cases. Berry v.

CIGNA/RSI-CIGNA, 975 F.2d 1188, 1190 (5th Cir. 1992); Colle v. Brazos County, Tex., 981 F.2d

237, 242-243 (5th Cir. 1993).

          Specifically, Rule 41(b) states: “For failure of the plaintiff to prosecute or to comply with

these rules or any order of court, a defendant may move for dismissal of an action or of any

claim against him.” The established rule in the Fifth Circuit is that dismissal under Rule 41(b) is

appropriate when there is a clear record of delay or contumacious conduct and lesser sanctions

would not serve the best interests of justice. Wrenn v. American Cast Iron Pipe Co., 575 F.2d

544, 546 (5th Cir. 1978); Connolly v. Papachristid Shipping Ltd., 504 F.2d 917 (5th Cir. 1974);

Pond v. Braniff Airways, Inc., 453 F.2d 347 (5th Cir. 1972); Brown v. Thompson, 430 F.2d 1214

(5th Cir. 1970).

          A Plaintiff Fact Sheet includes 122 questions that were to be answered. In Pre-Trial

Order No. 88, the Court temporarily narrowed the PFS deficiency process to twenty-three “key”

questions (except for cases where deficiency notices had been served and the time for curing


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such deficiencies already had expired) and, for deficiency notices served after March 24, 2011,

extended the time for curing deficiencies by an additional thirty days. See Rec. Doc.22124

(signed June 24, 2011), as corrected in Rec. Doc. 22153. Effective April 1, 2012, deficiencies

are no longer limited to those identified as “key” by this court. Id.


           Elicia Allen on behalf of I.A.

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from I.A. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of I.A. attached

as Exhibit “B”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified University Marine RV

Wildwood as the Manufacturer and listed a VIN with a TWDP prefix, which is not a Forest

River prefix. Thus, this Plaintiff has clearly admitted that he did not stay in a FEMA housing

unit manufactured by Forest River. According to the transcript of the Committee’s Status

Conference held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency letters

from the Defense stating that a PFS had not been previously received is considered a deficiency

letter and, upon receiving a PFS in response to that letter, a second deficiency letter identifying

deficiencies in that newly received PFS is not required, and those PFSs received have to be filled

out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).1


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:

1
    See Exhibit “C” – May 13, 2011 Committee’s Status Conference Transcript

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                 INFORMATION/DATA                         PFS SECTION
               Smoking History of Other                       VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                       VII.B.
               Related Injury
               Produce Records                                 VIII.B.
       (See Ex. “B”)


       I.A. has answered only 20 of the required 23 key questions and failed to answer 20

additional questions beyond those 23 key questions identified by the Court; therefore his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer and VIN identified on the PFS. He was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


       Harold Anderson, Jr.

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Harold Anderson, Jr. On May 2, 2011, Forest

River sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the

above named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River

received the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of

Harold Anderson, Jr., attached as Exhibit “D”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s

PFS identified Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has

clearly admitted that he did not stay in a FEMA housing unit manufactured by Forest River.

According to the transcript of the Committee’s Status Conference held on May 13, 2011, the

Court clarified that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had

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not been previously received is considered a deficiency letter and, upon receiving a PFS in

response to that letter, a second deficiency letter identifying deficiencies in that newly received

PFS is not required, and those PFSs received have to be filled out in a full and non-deficient way.

(Tr. P. 30, 1. 9-25, p. 31, 1.1-5).2


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.1.
                   Barcode                                              V.A.4.
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “D”)


           Harold Anderson, Jr. has answered only 18 of the required 23 key questions and failed to

answer 17 additional questions beyond those 23 key questions identified by the Court; therefore

his PFS remains deficient. More importantly, he admits that he did not stay in a Forest River

unit, based upon the manufacturer identified on the PFS. He was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.




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    See Exhibit “C” – May 13, 2011 Committee’s Status Conference Transcript

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           Linda Bradbury on Behalf of L.A.


           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from L.A. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of L.A. attached

as Exhibit “E”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Gulf Stream as the

Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted that she did not

stay in a FEMA housing unit manufactured by Forest River. According to the transcript of the

Committee’s Status Conference held on May 13, 2011, the Court clarified that Plaintiffs

receiving deficiency letters from the Defense stating that a PFS had not been previously received

is considered a deficiency letter and, upon receiving a PFS in response to that letter, a second

deficiency letter identifying deficiencies in that newly received PFS is not required, and those

PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-

5).3


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:




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    See Exhibit C – May 13, 2011 Committee’s Status Conference Transcript

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                 INFORMATION/DATA                         PFS SECTION
               VIN                                            V.A.1.
               Barcode                                         V.A.4.
               Smoking History of Other                        VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                      VII.B.
               Related Injury
               Produce Records                                VIII.B.
       (See Ex. “E”)


       L.A. has answered only 18 of the required 23 keys questions and failed to answer 10

additional questions beyond those 23 key questions identified by the Court; therefore her PFS

remains deficient. More importantly, she admits that she did not stay in a Forest River unit,

based upon the manufacturer identified on the PFS. She was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Heidi Bailey on behalf of A.B.


       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from A.B.. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of A.B. attached

as Exhibit “F”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Rockwood as the

Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted that he did not stay

in a FEMA housing unit manufactured by Forest River. According to the transcript of the

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Committee’s Status Conference held on May 13, 2011, the Court clarified that Plaintiffs

receiving deficiency letters from the Defense stating that a PFS had not been previously received

is considered a deficiency letter and, upon receiving a PFS in response to that letter, a second

deficiency letter identifying deficiencies in that newly received PFS is not required, and those

PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-

5).4


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “F”)


           A.B. has answered only 18 of the required 23 key questions, and failed to answer 6

additional questions beyond those 23 key questions identified by the Court; therefore his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer identified on the PFS. He was incorrectly matched in a suit against Forest

River and has missed the deadline for being matched with the correct manufacturing defendant.

Thus, this Plaintiff does not belong in a suit against Forest River and his claims should be

dismissed on that basis.



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    See Exhibit “C” – May 13, 2011 Committee’s Status Conference Transcript

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           Heidi Bailey

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Heidi Bailey. On May 2, 2011, Forest River sent

to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Heidi Bailey

attached as Exhibit “G”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it

and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Rockwood

as the Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted that she did

not stay in a FEMA housing unit manufactured by Forest River. According to the transcript of

the Committee’s Status Conference held on May 13, 2011, the Court clarified that Plaintiffs

receiving deficiency letters from the Defense stating that a PFS had not been previously received

is considered a deficiency letter and, upon receiving a PFS in response to that letter, a second

deficiency letter identifying deficiencies in that newly received PFS is not required, and those

PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-

5).5


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:




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    See Exhibit “C” – May 13, 2011 Committee’s Status Conference Transcript

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                 INFORMATION/DATA                         PFS SECTION
               Only if you are Requesting                    III.C.9.
               Reimbursement of Medical
               Expenses
               VIN                                           V.A.2.
               Barcode                                       V.A.4.
               Smoking History of Other                      VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                    VII.B.
               Related Injury
               Produce Records                               VIII.B.
       (See Ex. “G”)


       Heidi Bailey has failed to answer 6 of the key questions identified by this court;

therefore, her PFS remains deficient. More importantly, she admits that she did not stay in a

Forest River unit, based upon the manufacturer identified on the PFS. She was incorrectly

matched in a suit against Forest River and has missed the deadline for being matched with the

correct manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest

River and her claims should be dismissed on that basis.


       Laura Bardwell on behalf of B.B.

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from B.B. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of B.B. attached

as Exhibit “H”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Fleetwood as the

Manufacturer and listed a VIN with a 1FB1F prefix, which is not a Forest River prefix. Thus,

this Plaintiff has clearly admitted that he did not stay in a FEMA housing unit manufactured by

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Forest River. According to the transcript of the Committee’s Status Conference held on May 13,

2011, the Court clarified that Plaintiffs receiving deficiency letters from the Defense stating that

a PFS had not been previously received is considered a deficiency letter and, upon receiving a

PFS in response to that letter, a second deficiency letter identifying deficiencies in that newly

received PFS is not required, and those PFSs received have to be filled out in a full and non-

deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).6


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Psychological Treatment                            III.C.8.
                   Only if you are Requesting                           III.C.9.
                   Reimbursement of Medical
                   Expenses
                   Manufacturer (BC:1153715)                            V.A.1.
                   VIN (BC: 1153715)                                    V.A.2.
                   Number of Hours Spent in                              V.13.
                   Trailer Each Day
                   Names of Other Trailer                                V.E.
                   Resident(s)
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “H”)


           B.B. has only answered 17 of the required 23 key questions, and failed to answer 25

additional questions beyond those 23 key questions identified by the Court; therefore, his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer and VIN identified on the PFS. He was incorrectly matched in a suit

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against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


           Heather R. Bardwell a.k.a Heather Falana

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Heather R. Bardwell. On May 2, 2011, Forest

River sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the

above named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River

received the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of

Heather R. Bardwell attached as Exhibit “I”). Upon receipt of the fact sheet, Counsel for Forest

River reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS did

not identify a Manufacturer and listed a VIN with a 1FB1F prefix, which is not a Forest River

prefix. Thus, this Plaintiff has clearly admitted that she did not stay in a FEMA housing unit

manufactured by Forest River. According to the transcript of the Committee’s Status Conference

held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency letters from the

Defense stating that a PFS had not been previously received is considered a deficiency letter and,

upon receiving a PFS in response to that letter, a second deficiency letter identifying deficiencies

in that newly received PFS is not required, and those PFSs received have to be filled out in a full

and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).7


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:



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                 INFORMATION/DATA                       PFS SECTION
               Psychological Treatment                     III.C.8.
               Only if you are Requesting                    III.C.9.
               Reimbursement of Medical
               Expenses
               Manufacturer                                  V.A.1.
               Manufacturer (BC: 1153715)                    V.A.1.
               VIN (BC: 1153715)                             V.A.2.
               Number of Hours Spent in                      V.13.
               Trailer Each Day
               Number of Hours Spent in                      V.13.
               Trailer Each Day (BC:
               1153715)
               Names of Other Trailer                         V.E.
               Resident(s)
               Smoking History of Other                      VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                    VII.B.
               Related Injury
               Produce Records                               VIII.B.
       (See Ex. “I”)


       Heather R. Bardwell has answered only 15 of the required 23 key questions, and failed to

answer 31 additional questions beyond those 23 key questions identified by the Court; therefore,

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. She was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Leonisha Davis on behalf of J.B.


       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from J.B.. On May 2, 2011, Forest River sent to


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Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of J.B. attached

as Exhibit “J”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS Gulf Stream as the Manufacturer

and did not list a VIN. Thus, this Plaintiff has clearly admitted that he did not stay in a FEMA

housing unit manufactured by Forest River. According to the transcript of the Committee’s

Status Conference held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency

letters from the Defense stating that a PFS had not been previously received is considered a

deficiency letter and, upon receiving a PFS in response to that letter, a second deficiency letter

identifying deficiencies in that newly received PFS is not required, and those PFSs received have

to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).8


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Manufacturer (Trailer 2)                             V.A.1.
                   VIN (Trailer 2)                                      V.A.2.
                   Barcode (Trailer 2)                                  V.A.4.
                   Number of Hours Spent in                              V.13.
                   Trailer Each Day




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               Smoking History of Other                         VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                       VII.B.
               Related Injury
               Produce Records                                 VIII.B.
       (See Ex. “J”)


       J.B. has answered only 17 of the required 23 key questions, and failed to answer 7

additional questions beyond those 23 key questions identified by the Court; therefore his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer identified on the PFS. He was incorrectly matched in a suit against

Forest River and has missed the deadline for being matched with the correct manufacturing

defendant. Thus, this Plaintiff does not belong in a suit against Forest River and his claims

should be dismissed on that basis.


       Jennifer Brooks on behalf of J.B.

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from J.B.. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of J.B. attached

as Exhibit “K”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS did not identify a Manufacturer

and listed a VIN with a TWDP prefix, which is not a Forest River prefix. Thus, this Plaintiff has

clearly admitted that she did not stay in a FEMA housing unit manufactured by Forest River.

According to the transcript of the Committee’s Status Conference held on May 13, 2011, the

Court clarified that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had


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not been previously received is considered a deficiency letter and, upon receiving a PFS in

response to that letter, a second deficiency letter identifying deficiencies in that newly received

PFS is not required, and those PFSs received have to be filled out in a full and non-deficient way.

(Tr. P. 30, 1. 9-25, p. 31, 1.1-5).9


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                    INFORMATION/DATA                               PFS SECTION
                   Manufacturer                                        V.A.1.
                   Number of Hours Spent in                              V.13.
                   Trailer each day
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “K”)


           J.B. has answered 18 of the required 23 key questions, and failed to answer 11 additional

questions beyond those 23 key questions identified by the Court; therefore, her PFS remains

deficient. More importantly, she admits that she did not stay in a Forest River unit, based upon

the VIN identified on the PFS. She was incorrectly matched in a suit against Forest River and

has missed the deadline for being matched with the correct manufacturing defendant. Thus, this

Plaintiff does not belong in a suit against Forest River and her claims should be dismissed on that

basis.




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           Jennifer Brooks

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Jennifer Brooks. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Jennifer

Brooks attached as Exhibit “L”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Universal Maine as the Manufacturer and listed a VIN with a TWDP prefix, which is not a

Forest River prefix. Thus, this Plaintiff has clearly admitted that she did not stay in a FEMA

housing unit manufactured by Forest River. According to the transcript of the Committee’s

Status Conference held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency

letters from the Defense stating that a PFS had not been previously received is considered a

deficiency letter and, upon receiving a PFS in response to that letter, a second deficiency letter

identifying deficiencies in that newly received PFS is not required, and those PFSs received have

to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).10


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Smoking History of Other                            VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “L”)

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       Jennifer Brooks has answered only 20 of the required 23 key questions, and failed to

answer 7 additional questions beyond those 23 key questions identified by the Court; therefore,

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. She was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Bernell L. Clements

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Bernell L. Clements. On May 2, 2011, Forest

River sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the

above named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River

received the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of

Bernell L. Clements attached as Exhibit “M”). Upon receipt of the fact sheet, Counsel for Forest

River reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS

identified Fleetwood and Fleetwood Mobile Homes as the Manufacturers and listed VINs with

1S9PA and NCFL prefixes, which are not Forest River prefixes. Thus, this Plaintiff has clearly

admitted that he did not stay in a FEMA housing unit manufactured by Forest River. According

to the transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified

that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not




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required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).11


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Psychological Treatment                            III.C.8.
                   Only if You are Requesting                           III.C.9.
                   Reimbursement for Medical
                   Expenses
                   Only if You are Requesting                           IV.F.3.
                   Wage Claim
                   Number of Hours Spent in                              V.13.
                   Trailer Each Day
                   Names of Other Trailer                                 V.E.
                   Resident(s)
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Prior Medical History                             VI(F)(1&4)
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
                   Signed Certification
           (See Ex. “M”)


           Bernell L. Clements has answered only 13 of the required 23 key questions, and failed to

answer a majority of the remaining PFS questions which were not previously identified as “key”

by the Court; therefore, his PFS remains deficient. More importantly, he admits that he did not

stay in a Forest River unit, based upon the manufacturer and VIN identified on the PFS. He was

incorrectly matched in a suit against Forest River and has missed the deadline for being matched

with the correct manufacturing defendant. Thus, this Plaintiff does not belong in a suit against

Forest River and his claims should be dismissed on that basis.
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           LaQuetta Cole

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from LaQuetta Cole. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of LaQuetta

Cole attached as Exhibit “N”). Upon receipt of the fact sheet, Counsel for Forest River reviewed

it and deemed the fact sheet deficient.               Most importantly, this Plaintiff’s PFS identified

Fleetwood Mobile Home of Carolinea and Fleetwood as the Manufacturers and listed VINs with

a 1S9PA and NCFL prefixes, which are not Forest River prefixes. Thus, this Plaintiff has clearly

admitted that she did not stay in a FEMA housing unit manufactured by Forest River. According

to the transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified

that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).12


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Only if you are Requesting                         III.C.9.
                   Reimbursement of Medical
                   Expenses
                   Manufacturer (BC: 1327383)                           V.A.4.

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               Smoking History of Other                        VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                     VII.B.
               Related Injury
               Produce Records                                VIII.B.
       (See Ex. “N”)


       LaQuetta Cole has answered only 19 of the required 23 key questions, and failed to

answer 10 additional questions beyond those 23 key questions identified by the Court; therefore,

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. She was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Leonisa A. Davis

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Leonisa A. Davis. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Leonisa A.

Davis attached as Exhibit “O”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted

that she did not stay in a FEMA housing unit manufactured by Forest River. According to the

transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified that

Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been


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previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).13


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “O”)


           Leonisa A. Davis has answered only 18 of the required 23 key questions, and failed to

answer 12 additional questions beyond those 23 key questions identified by the Court; therefore,

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer identified on the PFS. She was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


           Wade L. Davis, Jr.

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Wade L. Davis, Jr. On May 2, 2011, Forest River
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sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Wade L.

Davis, Jr. attached as Exhibit “P”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted

that he did not stay in a FEMA housing unit manufactured by Forest River. According to the

transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified that

Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).14


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Plaintiff’s Smoking History                           VI.C.
                   Smoking History of Other                              VI.D.
                   Residents
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “P”)



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       Wade Davis, Jr. has answered only 19 of the required 23 key questions, and failed to

answer 17 additional questions beyond those 23 key questions identified by the Court; therefore,

his PFS remains deficient. More importantly, he admits that he did not stay in a Forest River

unit, based upon the manufacturer identified on the PFS. He was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


       Greg Dupuy


       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Greg Dupuy. On May 2, 2011, Forest River sent

to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Greg Dupuy

attached as Exhibit “Q”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it

and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Skyline and

Cavalier as the Manufacturers and listed a VIN with a 15E200 prefix, which is not a Forest River

prefix. Thus, this Plaintiff has clearly admitted that he did not stay in a FEMA housing unit

manufactured by Forest River. According to the transcript of the Committee’s Status Conference

held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency letters from the

Defense stating that a PFS had not been previously received is considered a deficiency letter and,

upon receiving a PFS in response to that letter, a second deficiency letter identifying deficiencies




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in that newly received PFS is not required, and those PFSs received have to be filled out in a full

and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).15


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Psychological Treatment                            III.C.8.
                   VIN (Cavalier)                                       V.A.1.
                   Barcode (Cavalier)                                   V.A.4.
                   Number of Hours Spent in                              V.13.
                   Trailer Each Day
                   Smoking History of Other                              VI.D.
                   Trailer Residents
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “Q”)


           Greg Dupuy has answered only 18 of the required 23 key questions, and failed to answer

19 additional questions beyond those 23 key questions identified by the Court; therefore, his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer and VIN identified on the PFS. He was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


           Glenda Durbin

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Glenda Durbin. On May 2, 2011, Forest River

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sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Glenda

Durbin attached as Exhibit “R”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted

that she did not stay in a FEMA housing unit manufactured by Forest River. According to the

transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified that

Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).16


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Psychological Treatment                            III.C.8.
                   VIN (Gulf Stream)                                    V.A.2.
                   Barcode (Gulf Stream)                                V.A.4.
                   VIN (BC: 1243232)                                    V.A.2.
                   VIN (BC: 1326664)                                    V.A.2.
                   Plaintiff’s Smoking History                           VI.C.




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               Smoking History of Other                         VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                       VII.B.
               Related Injury
               Produce Records                                 VIII.B.
       (See Ex. “R”)


       Glenda Durbin has answered only 17 of the required 23 key questions, and failed to

answer 15 additional questions beyond those 23 key questions identified by the Court; therefore,

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer identified on the PFS. She was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Shirley Jean Goodwin

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Shirley Jean Goodwin. On May 2, 2011, Forest

River sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the

above named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River

received the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of

Shirley Jean Goodwin attached as Exhibit “S”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s

PFS identified Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has

clearly admitted that she did not stay in a FEMA housing unit manufactured by Forest River.

According to the transcript of the Committee’s Status Conference held on May 13, 2011, the

Court clarified that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had


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not been previously received is considered a deficiency letter and, upon receiving a PFS in

response to that letter, a second deficiency letter identifying deficiencies in that newly received

PFS is not required, and those PFSs received have to be filled out in a full and non-deficient way.

(Tr. P. 30, 1. 9-25, p. 31, 1.1-5).17

           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Smoking History of Other                              VI.D.
                   Trailer Residents
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “S”)

           Shirley Jean Goodwin has answered only 18 of the required 23 key questions, and failed

to answer 10 additional questions beyond those 23 key questions identified by the Court;

therefore her PFS remains deficient.           More importantly, she admits that she did not stay in a

Forest River unit, based upon the manufacturer identified on the PFS. She was incorrectly

matched in a suit against Forest River and has missed the deadline for being matched with the

correct manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest

River and her claims should be dismissed on that basis.

           Mayola Haynes

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Mayola Haynes. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

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named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 20, 2011 (See Plaintiff Fact Sheet of Mayola

Haynes attached as Exhibit “T”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Gulf Stream as the Manufacturer and did not list a VIN. Thus, this Plaintiff has clearly admitted

that she did not stay in a FEMA housing unit manufactured by Forest River. According to the

transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified that

Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).18


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   VIN                                                 V.A.2.
                   Barcode                                              V.A.4.
                   Plaintiff’s Smoking History                           VI.C.
                   Smoking History of Other                              VI.D.
                   Trailer Residents
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “T”)




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       Mayola Haynes has answered only 18 of the required 23 key questions, and failed to

answer 9 additional questions beyond those 23 key questions identified by the Court; therefore

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer identified on the PFS. She was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       Tamika Santiago on behalf of E.H.


       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from E.H.. On May 2, 2011, Forest River sent to

Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above named

Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received the

missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of E.H. attached

as Exhibit “U”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient.    Most importantly, this Plaintiff’s PFS identified Fleetwood and

Fleetwood Mobile of GA as the Manufacturers and listed VINs with a 1S9PA and NCFL

prefixes, which are not Forest River prefixes. Thus, this Plaintiff has clearly admitted that he did

not stay in a FEMA housing unit manufactured by Forest River. According to the transcript of

the Committee’s Status Conference held on May 13, 2011, the Court clarified that Plaintiffs

receiving deficiency letters from the Defense stating that a PFS had not been previously received

is considered a deficiency letter and, upon receiving a PFS in response to that letter, a second

deficiency letter identifying deficiencies in that newly received PFS is not required, and those



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PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-

5).19


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                    INFORMATION/DATA                               PFS SECTION
                   Manufacturer (Trailer 2)                            V.A.1.
                   Barcode (Trailer 1)                                  V.A.4.
                   Barcode (Trailer 2)                                  V.A.4.
                   Move In Date (Trailer 2)                             V.A.6.
                   Move Out Date (Trailer 2)                            V.A.7.
                   Installation Address (Trailer 2)                     V.A.8.
                   Smoking History of Other                              VI.D.
                   Trailer Residents
                   Treatment for Formaldehyde                           VII.B.
                   Related Injury
                   Produce Records                                      VIII.B.
           (See Ex. “U”)


           E.H. has answered only 15 of the required 23 key questions, and failed to answer 11

additional questions beyond those 23 key questions identified by the Court; therefore his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer and VIN identified on the PFS. He was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.




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           Kellie Murphy


           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Kellie Muprhy. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Kellie

Murphy attached as Exhibit “V”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Dutchman and Gulf Stream as the Manufacturers and listed a VIN with a DI01 prefix, which is

not a Forest River prefix. Thus, this Plaintiff has clearly admitted that she did not stay in a

FEMA housing unit manufactured by Forest River.                      According to the transcript of the

Committee’s Status Conference held on May 13, 2011, the Court clarified that Plaintiffs

receiving deficiency letters from the Defense stating that a PFS had not been previously received

is considered a deficiency letter and, upon receiving a PFS in response to that letter, a second

deficiency letter identifying deficiencies in that newly received PFS is not required, and those

PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-

5).20


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:




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                 INFORMATION/DATA                        PFS SECTION
               Manufacturer (DI01670GA)                      V.A.1.
               Barcode (DI01670GA)                            V.A.4.
               VIN (Gulf Stream Trailer 1)                    V.A.2.
               Barcode (Gulf Stream Trailer 1)                V.A.4.
               VIN (Trailer 2)                                V.A.2.
               Barcode (Trailer 2)                            V.A.4.
               VIN (Dutch Man Trailer 3)                      V.A.2.
               Barcode (Dutch Man Trailer 3)                  V.A.4.
               Move In Date (Trailer 3)                       V.A.6.
               Move Out Date (Trailer 3)                      V.A.7.
               Manufacturer (Trailer 4)                       V.A.1.
               VIN (Trailer 4)                                V.A.2.
               Barcode (Trailer 4)                            V.A.4.
               Manufacturer (Trailer 5)                       V.A.1.
               VIN (Trailer 5)                                V.A.2.
               Barcode (Trailer 5)                            V.A.4.
               Smoking History of Other Trailer                VI.D.
               Residents
               Prior Medical History                         VI.F.1&4
               Treatment for Formaldehyde                     VII.B.
               Related Injury
               Produce Records                                VIII.B.
       (See Ex. “V”)


       Kellie Murphy has answered only 14 of the required 23 key questions, and failed to

answer 15 additional questions beyond those 23 key questions identified by the Court; therefore

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. She was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis..


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           Bernard Santiago, III

           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Bernard Santiago, III. On May 2, 2011, Forest

River sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the

above named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River

received the missing Plaintiff Fact Sheet on or about May 20, 2011 (See Plaintiff Fact Sheet of

Bernard Santiago, III attached as Exhibit “W”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s

PFS identified Clayton and Fleetwood Mobile Home of N.C. as Manufacturers and listed VINs

with RNCOOO and NCFL prefixes, which are not Forest River prefixes. Thus, this Plaintiff has

clearly admitted that he did not stay in a FEMA housing unit manufactured by Forest River.

According to the transcript of the Committee’s Status Conference held on May 13, 2011, the

Court clarified that Plaintiffs receiving deficiency letters from the Defense stating that a PFS had

not been previously received is considered a deficiency letter and, upon receiving a PFS in

response to that letter, a second deficiency letter identifying deficiencies in that newly received

PFS is not required, and those PFSs received have to be filled out in a full and non-deficient way.

(Tr. P. 30, 1. 9-25, p. 31, 1.1-5).21


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:




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                  INFORMATION/DATA                       PFS SECTION
               Barcode (Fleetwood – Trailer 1)               V.A.4.
               Manufacturer (Trailer 2)                       V.A.1.
               VIN (Trailer 2)                                V.A.2.
               Barcode (Trailer 2)                            V.A.4.
               Move In Date (Trailer 2)                       V.A.6.
               Move Out Date (Trailer 2)                      V.A.7.
               Installation Address                           V.A.8.
               Smoking History of Other                        VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                     VII.B.
               Related Injury
               Produce Records                                VIII.B.
       (See Ex. “W”)


       Bernard Santiago, III has answered only 14 of the required 23 key questions, and failed to

answer 12 additional questions beyond those 23 key questions identified by the Court; therefore

his PFS remains deficient. More importantly, he admits that he did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. He was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


       LaQuetta Cole on behalf of B.S.

       Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from B.S. Forest River received a Plaintiff Fact Sheet

on or about May 24, 2011 from Plaintiff’s Counsel (See Plaintiff Fact Sheet of B.S. attached as

Exhibit “X”). Upon receipt of the fact sheet, Counsel for Forest River reviewed it and deemed

the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified Fleetwood Mobile of

N.C. as the Manufacturer and listed VINs with 1S9PA and NCFL prefixes, which are not Forest

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River prefixes. Thus, this Plaintiff has clearly admitted that he did not stay in a FEMA housing

unit manufactured by Forest River. According to the transcript of the Committee’s Status

Conference held on May 13, 2011, the Court clarified that Plaintiffs receiving deficiency letters

from the Defense stating that a PFS had not been previously received is considered a deficiency

letter and, upon receiving a PFS in response to that letter, a second deficiency letter identifying

deficiencies in that newly received PFS is not required, and those PFSs received have to be filled

out in a full and non-deficient way. (Tr. P. 30, 1. 9-25, p. 31, 1.1-5).22


           In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                     INFORMATION/DATA                              PFS SECTION
                   Manufacturer (IS9PA)                                V.A.1.
                   Barcode (IS9PA)                                       V.A.4.
                   Barcode (Fleetwood – Trailer 1)                       V.A.4.
                   Manufacturer (Trailer 2)                              V.A.1.
                   VIN (Trailer 2)                                       V.A.2.
                   Barcode (Trailer 2)                                   V.A.4.
                   Smoking History of Other                              VI.D.
                   Trailer Resident(s)
                   Treatment for Formaldehyde                            VII.B.
                   Related Injury
                   Produce Records                                       VIII.B.
           (See Ex. “X”)


           B.S. has answered only 17 of the required 23 key questions, and failed to answer 12

additional questions beyond those 23 key questions identified by the Court; therefore his PFS

remains deficient. More importantly, he admits that he did not stay in a Forest River unit, based

upon the manufacturer and VIN identified on the PFS. He was incorrectly matched in a suit


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against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

his claims should be dismissed on that basis.


           Tamika Santiago


           Bernell Clements v. Forest River, Inc. was filed July 30, 2010. After the complaint was

filed, Forest River did not receive a PFS from Tamika Santiago. On May 2, 2011, Forest River

sent to Plaintiff’s Counsel a letter requesting production of a Plaintiff Fact Sheet for the above

named Plaintiff (See letter dated May 2, 2011, attached as Exhibit “A”). Forest River received

the missing Plaintiff Fact Sheet on or about May 24, 2011 (See Plaintiff Fact Sheet of Tamika

Santiago attached as Exhibit “Y”). Upon receipt of the fact sheet, Counsel for Forest River

reviewed it and deemed the fact sheet deficient. Most importantly, this Plaintiff’s PFS identified

Gulf Stream and Fleetwood Mobile Home as Manufacturers and listed VINs with 1NL1G and

NCFL prefixes, which are not Forest River prefixes. Thus, this Plaintiff has clearly admitted that

she did not stay in a FEMA housing unit manufactured by Forest River. According to the

transcript of the Committee’s Status Conference held on May 13, 2011, the Court clarified that

Plaintiffs receiving deficiency letters from the Defense stating that a PFS had not been

previously received is considered a deficiency letter and, upon receiving a PFS in response to

that letter, a second deficiency letter identifying deficiencies in that newly received PFS is not

required, and those PFSs received have to be filled out in a full and non-deficient way. (Tr. P. 30,

1. 9-25, p. 31, 1.1-5).23




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       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                  INFORMATION/DATA                         PFS SECTION
               Barcode (Fleetwood – Trailer 1)                 V.A.4.
               Manufacturer (Trailer 2)                        V.A.1.
               VIN (Trailer 2)                                 V.A.2.
               Barcode (Trailer 2)                             V.A.4.
               Move In Date (Trailer 2)                        V.A.6.
               Move Out Date (Trailer 2)                       V.A.7.
               Installation Address                            V.A.8.
               Smoking History of Other                         VI.D.
               Trailer Resident(s)
               Treatment for Formaldehyde                       VII.B.
               Related Injury
               Produce Records                                 VIII.B.
       (See Ex. “Y”)


       Tamika Santiago has answered only 14 of the required 23 keys questions, and failed to

answer 11 additional questions beyond those 23 key questions identified by the Court; therefore

her PFS remains deficient. More importantly, she admits that she did not stay in a Forest River

unit, based upon the manufacturer and VIN identified on the PFS. She was incorrectly matched

in a suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Thus, this Plaintiff does not belong in a suit against Forest River and

her claims should be dismissed on that basis.


       The above listed plaintiffs admit that they did not stay in a Forest River housing unit. As

it prepares for additional litigation, evaluates the possibility of settlement, and analyzes other

issues concerning the progress of this lawsuit, Forest River must be able to obtain information

about those who make allegations against it. The PFS serves as the best way to acquire such


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information, as the PFS acts as the initial round of discovery responses. With a deficient

simulated discovery response, Forest River is significantly prejudiced, and there is good cause

for the Court to discontinue any potential for further prejudice against Forest River by dismissing

the claims of these plaintiffs.

        Based upon the foregoing, the above-listed plaintiffs’ PFSs remain deficient. In

accordance with Pre-Trial Orders 2, 32, 38, 49 and 68, and Federal Rules of Civil Procedure

Nos. 37(b)(2)VI and 41(b), the Motion to Dismiss filed by Forest River should be granted,

dismissing the claims of the above listed plaintiffs, with prejudice.

                                              Respectfully Submitted,

                                              GIEGER, LABORDE & LAPEROUSE, LLC

                                              BY: /s/ Ernest P. Gieger, Jr.
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                                              ATTORNEYS FOR FOREST RIVER, INC

                                  CERTIFICATE OF SERVICE

        I do hereby certify that a true and correct copy of the forgoing document has been served

upon counsel of record as indicated below in accordance with the Federal Rules of Civil

Procedure on May 1, 2012 via electronic filing.



                                              /s/ Ernest P. Gieger, Jr.

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